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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                      §
                                               §
 v.                                            §   CASE NO. 1:16cr60-3
                                               §
 DEBORAH PARISI                                §


         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United

 States Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and

 32 of the Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority

 to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. §

 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied,

 123 S. Ct. 1642 (2003). On April 12, 2017, this cause came before the undersigned United

 States Magistrate Judge for entry of a guilty plea by the defendant, Deborah Parisi, on Count

 Three of the charging First Superseding Indictment filed in this cause.

        Count Three of the First Superseding Indictment charges that between on or about June

 6, 2016 and on or about June 20, 2016, in the Eastern District of Texas, Deborah Parisi and

 co-defendants, combined, confederated and conspired with each other and with others


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 unknown to alter, destroy, mutilate or conceal a record, document or other object or attempted

 to alter, destroy, mutilate or conceal a record, document, to wit: the digital contents, messages

 records and GPS location history contained in the cell phone belonging to Anna Marie

 Grisanti, under account name “Italiamami1986@hotmail.com”, accessed via pass word

 “gentry143", with the intent to impair the object’s integrity or availability for use in an official

 proceeding, namely, the trial of Anna Marie Grisanti in Cause No. 1:16cr60, United States vs

 Anna Marie Grisanti, et al., in the United States District Court for Eastern District of Texas,

 in violation of 18 U.S.C. § 1512(c)(1), all in violation of 18 U.S.C. § 1512(k).

        Defendant, Deborah Parisi, entered a plea of guilty to Count Three of the               First

 Superseding Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a. That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United

 States Magistrate Judge in the Eastern District of Texas subject to a final approval and

 imposition of sentence by the District Court.

        b. That Defendant and the Government have entered into a plea agreement and a plea

 agreement addendum which were addressed in open court and entered into the record.

        c. That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).
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        d.   That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that her conduct falls within the definition of the crimes charged under 18

 U.S.C. § 1512(k).



                                 STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual

 basis. See Factual Basis. In support, the Government and Defendant stipulated that if this

 case were to proceed to trial the Government would prove beyond a reasonable doubt, through

 the sworn testimony of witnesses, including expert witnesses, as well as through admissible

 exhibits, each and every essential element of the crime charged in Count Three of the First

 Superseding Indictment. The Government would also prove that the defendant is one and the

 same person charged in the First Superseding Indictment and that the events described in First

 Superseding Indictment occurred in the Eastern District of Texas and elsewhere. The Court

 incorporates the proffer of evidence described in detail in the factual basis and stipulation in

 support of the guilty plea.

        Defendant, Deborah Parisi agreed with and stipulated to the evidence presented in the

 factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

 and capability to enter an informed plea of guilty. The Defendant agreed with the evidence

 presented by the Government and personally testified that she was entering her guilty plea

 knowingly, freely and voluntarily.




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                               RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the guilty plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count Three of the charging First Superseding

 Indictment on file in this criminal proceeding. The Court also recommends that the District

 Court accept the plea agreement and plea agreement addendum pursuant to the Local Rules for

 the United States District Court for the Eastern District of Texas and Federal Rule of Criminal

 Procedure 11(c). Accordingly, it is further recommended that, Defendant, Deborah Parisi, be

 finally adjudged as guilty of the charged offense under Title 18, United States Code, Section

 1512(k).

        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject the plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement and addendum, the federal sentencing

 guidelines and/or the resentence reort because the sentencing guidelines are advisory in nature.

 The District Court may defer its decision to accept or reject the plea agreement and addendum

 until there has been an opportunity to consider the presentence report. See FED. R. CRIM. P.

 11(c)(3). If the Court rejects the plea agreement, the Court will advise Defendant in open

 court that it is not bound by the plea agreement and Defendant may have the opportunity to

 withdraw the guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM.

 P. 11(c)(3)(B). If the plea agreement is rejected and Defendant still persists in the guilty plea,


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     the disposition of the case may be less favorable to Defendant than that contemplated by the

     plea agreement or addendum. Defendant has the right to allocute before the District Court

     before imposition of sentence.

                                              OBJECTIONS

            Objections must be:       (1) specific, (2) in writing, and (3) served and filed within

     fourteen (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A

     party’s failure to object bars that party from: (1) entitlement to de novo review by a district

     judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

     276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

     unobjected-to factual findings and legal conclusions accepted by the district court, see
.
     Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The

     constitutional safeguards afforded by Congress and the courts require that, when a party takes

     advantage of his right to object to a magistrate’s findings or recommendation, a district judge

     must exercise its nondelegable authority by considering the actual evidence and not merely by

     reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

     Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th

     Cir. 1981) (per curiam).

               SIGNED this the 25th day of April, 2017.




                                                  ____________________________________
                                                  KEITH F. GIBLIN
                                                  UNITED STATES MAGISTRATE JUDGE



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